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                                        C A S E H I S T O RY


                                  The discovery and development
                                  of rivaroxaban, an oral, direct
                                  factor Xa inhibitor
                                  Elisabeth Perzborn*, Susanne Roehrig‡, Alexander Straub‡, Dagmar Kubitza§ and
                                  Frank Misselwitz||
                                  Abstract | The activated serine protease factor Xa is a promising target for new anticoagulants.
                                  After studies on naturally occurring factor Xa inhibitors indicated that such agents could be
                                  effective and safe, research focused on small-molecule direct inhibitors of factor Xa that
                                  might address the major clinical need for improved oral anticoagulants. In 2008, rivaroxaban
                                  (Xarelto; Bayer HealthCare) became the first such compound to be approved for clinical use.
                                  This article presents the history of rivaroxaban’s development, from the structure–activity
                                  relationship studies that led to its discovery to the preclinical and clinical studies, and also
                                  provides a brief overview of other oral anticoagulants in advanced clinical development.
Thromboembolic disorders
                                 Anticoagulants are used for the prevention and treatment                 Warfarin, the prototype vitamin K antagonist (VKA),
A group of conditions
characterized by an increased    of venous and arterial thromboembolic disorders. Many                was originally discovered in 1941 (REF. 5). Until recently,
incidence of thrombi in the      approaches have been explored in the development of                  the VKAs were the only available oral anticoagulants, as
vasculature, such as deep-vein   antithrombotic drugs that inhibit enzymes in the coagu-              well as the most frequently prescribed. However, VKAs
thrombosis, pulmonary            lation pathways. However, most currently approved drugs              have numerous well-documented drawbacks, includ-
embolism, systemic embolism
or coronary and cerebral
                                 for the prevention and treatment of thromboembolic dis-              ing unpredictable pharmacokinetics and pharmaco-
ischaemia.                       orders have been on the market for a long time, in some              dynamics, a slow onset and offset of action, a narrow
                                 cases for decades. Unfractionated heparin (UFH), which               therapeutic window, multiple food–drug and drug–drug
Unfractionated heparin
(UFH). An anticoagulant
                                 was discovered in 1916 (REF. 1) targets multiple factors in          interactions6, and considerable inter-individual and
administered intravenously or    the coagulation cascade2, but has a number of limitations,           intra-individual variability in dose response. In addition,
subcutaneously. It binds to      including a parenteral route of administration, frequent             regular coagulation monitoring and dose adjustment are
antithrombin, greatly            laboratory monitoring of coagulation activity and the                required to keep patients within the target international
increasing its activity and
                                 risk for patients of developing potentially life-threatening         normalized ratio (INR) range, usually 2.0–3.0, which can
resulting in the inhibition of
factors Xa, IXa, XIa, XIIa and   heparin-induced thrombocytopaenia2,3. Low-molecular-weight           be costly 6. Furthermore, establishing the optimal dose
thrombin (factor IIa).           heparins (LMWHs), which were developed in the 1980s,                 of warfarin is complicated by variations in warfarin
                                 promote the inactivation of both thrombin (factor IIa)               sensitivity due to common genetic polymorphisms,
*Global Therapeutic              and, to a greater extent, factor Xa2.                                particularly in CYP2C9 and VKORC1 (REF. 7). Attempts
Research, ‡Global Lead               LMWHs have largely replaced UFH owing to their                   have been made to use pharmacogenetics to estimate
Generation and Optimization,
§
  Global Clinical
                                 lower risk of causing bleeding, lower levels of binding to           dose, although the clinical value of such assessments
Pharmacology,                    plasma proteins and endothelium, good bioavailability,               is debatable8. Nonetheless, LMWHs and VKAs are still
||
  Global Clinical Development,   longer half-life and superior pharmacokinetic properties             the basis of contemporary thromboprophylaxis and treat-
Cardiovascular                   compared with UFH2. However, their use remains lim-                  ment. However, the difficulties and shortcomings that
Pharmacology, Pharma R&D,
                                 ited because of the need for parenteral administration2,             surround the practicalities and clinical management
Bayer HealthCare, Aprather
Weg 18a, D-42096                 which can be inconvenient, especially in an outpatient               of these established anticoagulants — particularly
Wuppertal, Germany.              setting, with patients needing to be trained to self-inject          parenteral administration, the need for monitoring
Correspondence to E.P.           after discharge, and nurse visits required for those unable          and the lack of predictable response — has spurred the
e-mail: elisabeth.perzborn@      to do so4. Both UFH and LMWHs are indirect inhibitors                development of new agents that are less burdensome for
bayer.com
doi:10.1038/nrd3185
                                 of coagulation, and their activity is mediated by plasma             the patient and health-care system, and address both
Published online                 cofactors, principally antithrombin and, to a lesser extent          patients’ and physicians’ unmet needs. TABLE 1 con-
10 December 2010                 for UFH, heparin cofactor II (REF. 2).                               trasts the characteristics of the VKAs with those of a


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 Table 1 | Comparison of an ideal anticoagulant and a vitamin K antagonist                                   thrombin, which leads to clot formation and wound
                                                                                                             closure20 (FIG. 2). Conversely, deficiency of factor Xa may
 Property                       Ideal anticoagulant            Vitamin K antagonist                          disturb haemostasis. In the very rare factor X deficiency
 Administration                 Oral                           Oral                                          disorder (for which 1 in 500,000 is homozygous and
 Onset/offset of                Rapid (several hours)          Slow (several days)                           1 in 500 heterozygous), very low plasma and activity levels
 action                                                                                                      of factor Xa manifest as severe bleeding tendencies29–31.
 Therapeutic window             Wide                           Narrow                                        Studies of variants of factor X deficiency indicate that fac-
                                                                                                             tor X plasma activity levels must be as low as 6–10% of
 Variability in dose            Little or no                   Considerable inter-individual and
 response                       inter-individual or            intra-individual variability                  the normal range (approximately 50–150% of the popu-
                                intra-individual                                                             lation average) to be considered a mild deficiency; cases
                                variability                                                                  with factor X activity levels below 1% are considered to
 Interactions                   Little or no interaction       Multiple interactions with food               be severe29,32. Thus it seems that factor X activity can be
                                with food or other drugs       and other drugs                               markedly suppressed without affecting haemostasis. An
 PK/PD                          Predictable                    Unpredictable and variable                    ideal anticoagulant would prevent thrombosis without
                                                                                                             inducing systemic hypocoagulation, and would thereby
 Coagulation                    No routine monitoring          Regular monitoring required
 monitoring                     required
                                                                                                             avoid unintended bleeding complications. Therefore, a
                                                                                                             factor Xa inhibitor could potentially have the properties
 Dose adjustment                None required                  Required                                      of a desirable anticoagulant.
 Efficacy                       Highly effective               Effective in reducing
                                in reducing                    thromboembolic events when                    Validating factor Xa as a drug target
                                thromboembolic events          properly controlled
                                                                                                             The first factor Xa inhibitors. Although factor Xa was
 Safety profile                 Good, especially with          Difficulties in maintaining patients          identified as a promising target for the development of
                                regard to bleeding             within the target therapeutic                 new anticoagulants in the early 1980s, the viability of
                                                               range (INR 2.0–3.0); contributes to
                                                               an increased risk of bleeding                 factor Xa inhibition was not tested before the end of that
 INR, international normalized ratio; PK/PD, pharmacokinetics/pharmacodynamics.
                                                                                                             decade. In 1987, the first factor Xa inhibitor, the natu-
                                                                                                             rally occurring compound antistasin, was isolated from
                                                                                                             the salivary glands of the Mexican leech Haementeria
                                       hypothetical ‘ideal’ anticoagulant, and FIG. 1 chronicles             officinalis 33,34. Antistasin is a 119 amino-acid polypep-
                                       the historical development of anticoagulants.                         tide; kinetic studies revealed that it is a slow, tight-bind-
                                           Despite the accumulated knowledge on the coag-                    ing, potent factor Xa inhibitor (inhibition constant (Ki)
                                       ulation system (FIG. 2), its complexity has presented                 of 0.3–0.6 nM) that also inhibits trypsin (half maximal
                                       numerous obstacles to the discovery and development                   inhibitory concentration (IC50) is 5 nM in the presence
                                       of potent anticoagulants that are both effective and safe.            of 1 nM trypsin)35. Another naturally occurring factor
                                       In recent years, research has focused on new classes of               Xa inhibitor, the tick anticoagulant peptide (TAP), a sin-
                                       anticoagulants that target a specific coagulation enzyme              gle-chain, 60 amino-acid peptide, was isolated in 1990
                                       or step in the coagulation cascade9,10, including inhibi-             from extracts of the soft tick Ornithodoros moubata36.
Heparin-induced                        tors of the factor VIIa–tissue factor complex 10, inhibi-             Similarly to antistasin, TAP is a slow, tight-binding
thrombocytopaenia                      tors of factor IXa11,12 and factor XIa13,14, direct thrombin          inhibitor of factor Xa (Ki of ~0.6 nM).
The process by which                   inhibitors15,16, synthetic indirect and direct inhibitors                 TAP37 and recombinant forms of antistasin38 and
antibodies against the complex         of factor Xa (activated factor X)17–20, and recombinant               TAP38–40 were used to validate factor Xa as a viable drug
of heparin and platelet factor 4
activate platelets, resulting in a
                                       soluble thrombomodulin21,22. In addition, recombinant                 target and to improve understanding of the role of fac-
decrease in platelet numbers           activated protein C (APC) mitigates the procoagulant                  tor Xa in thrombosis. The antithrombotic effects of
of more than 50%.                      state associated with sepsis23,24.                                    these compounds were compared with those of direct
                                           In the search for new anticoagulant drugs, the acti-              thrombin inhibitors and of indirect thrombin and fac-
Low-molecular-weight
                                       vated serine protease factor Xa is a particularly promising           tor Xa inhibitors (that is, UFH) in animal models of
heparins
(LMWHs). A class of                    target and has attracted great interest in recent years18,25–27.      thrombosis. These studies suggested that direct factor
anticoagulants derived from            This article describes the discovery and development of               Xa inhibitors might be a more effective approach to
unfractionated heparin by              the first oral, direct factor Xa inhibitor to be approved for         anticoagulation37,39, and might also offer a wider thera-
chemical or enzymatic                  clinical use — rivaroxaban (Xarelto; Bayer HealthCare).               peutic window, particularly with regard to primary
degradation. They induce a
conformational change in
                                       Rivaroxaban was approved by the European authorities                  haemostasis40,41.
antithrombin that greatly              in 2008 for the prevention of venous thromboembolism
increases its anticoagulant            (VTE; comprising deep-vein thrombosis (DVT) and pul-                  In vitro and in vivo studies. Clot-bound factor Xa was
activity.                              monary embolism) after elective hip or knee replacement.              shown to be enzymatically active in vitro and able to acti-
                                       The article then briefly considers the future clinical                vate prothrombin to thrombin42. In addition, factor Xa was
Thrombin
Thrombin (also known as factor         potential of rivaroxaban and other factor Xa inhibitors               found to be an important contributor to clot-associated
IIa) is the terminal enzyme of         currently in advanced clinical development.                           procoagulant activity in vitro43. Clot-bound factor Xa
the coagulation cascade and                                                                                  activity was resistant to inhibition by antithrombin42, sug-
converts fibrinogen into fibrin,       Factor Xa: function and biology                                       gesting that the ability to directly inhibit clot-associated
which forms clot fibres.
Thrombin also activates several
                                       Factor X has long been known to have a key role in hae-               factor Xa, with no requirement for a cofactor, could
other coagulation factors, as          mostasis28 and factor Xa plays a central part in the blood            provide an effective and highly localized approach to
well as protein C.                     coagulation pathway by catalysing the production of                   the prevention of thrombus growth. The clot-associated


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                             %(*"&%*!'("%) %*"*!(&$"%'%%*                                    companies to initiate chemistry programmes to develop
(%*(#                       "%!""*"&%&*&(%"% (*"&                       )      selective, small-molecule, direct inhibitors of factor Xa,
                                     "*$"%%* &%")*) "%"(*#,.*
                                                                                                                such as DX-9065a50 and YM-60828 (REFS 51,52) (FIG. 3).
             (#                   ),%*!)")&$+#*"'#& +#*"&%*&()                    )            Both these compounds contain a highly basic amidine
                                                                                                                residue, designed as mimics for the arginine of the
                                   %*"*!(&$"%'%%*"%!""*"&%
           (%*(#            &*&( "%!""*"&%&*&( *&        )                  natural substrate prothrombin.
                                                                                                                    DX-9065a, a widely studied non-peptidic small
                    (%*(#               "(**&("%!""*&()               )                     molecule, shows rapid, direct and reversible binding
                                                                                                                kinetics for factor Xa (Ki of 41 nM)53. At physiologi-
                         (%*(#          %"(**&("%!""*&()      )                           cal pH it is a zwitterion with high water solubility and
                                                                                                                low lipophilicity 54. However, human oral bioavailability
                                      (#
                                                    "(**&(                                              was only 2–3%54. A small Phase II study was conducted
                                                    "%!""*&()                                              in patients with non-ST-elevation acute coronary
                                                                       
                                                    "(**&(                                              syndrome (ACS) who were randomized to low- or
                                             (#   "%!""*&()                                               high-dose intravenous DX-9065a or UFH55. A non-
                                                                                                                significant trend was observed towards a reduction in
                                                                                                                ischaemic events and bleeding for DX-9065a compared
                                                                                                                with UFH55.
Figure 1 | Development of anticoagulants over the past century. The timeframe
starts with the discovery of the heparins and the vitamin K antagonists, followed by                                Because of the success of indirect dual factor Xa and
the low-molecular-weight heparins. These were followed, in turn, by the discovery                               thrombin inhibitors, such as LMWHs, indirect inhibi-
of the parenteral direct thrombin inhibitors, the development of the indirect factor Xa                         tors of factor Xa with greater selectivity, such as fonda-
inhibitor, fondaparinux, and the work of the current decade that has resulted in oral                           parinux (Arixtra; GlaxoSmithKline)56,57, were developed
direct inhibitors of both thrombin (factor IIa) and factor Xa. The inverted triangle                            in parallel with direct factor Xa inhibitors.
reflects the narrowing of action and increasing specificity of the anticoagulants.                                  Both UFH and LMWHs contain a unique pen-
LMWH, low-molecular-weight heparin.                                                                             tasaccharide sequence that mediates binding to anti-
                                                                                                                thrombin. Binding induces a conformational change
                                                                                                                in antithrombin that potentiates its ability to inhibit
                                      generation of fibrinopeptide A (a byproduct of fibrino-                   coagulation factors. Inhibition of thrombin occurs
                                      gen cleavage by thrombin) was inhibited to the same                       through heparin chains of sufficient length to bridge
                                      extent by both recombinant TAP and hirudin, a direct                      antithrombin to thrombin in a ternary complex, after
                                      thrombin inhibitor. This observation suggested that                       which antithrombin binds covalently to thrombin and
                                      procoagulant activity in the clot was due to de novo acti-                the heparin chain dissociates2. However, such bridging
                                      vation of prothrombin to thrombin, rather than to the                     is not necessary for antithrombin to be able to inhibit
                                      activity of pre-existing thrombin43. It was subsequently                  factor Xa. Most LMWH chains are too short to cata-
                                      shown that inhibition of factor Xa by recombinant TAP                     lyse thrombin inhibition, but can nonetheless promote
Antithrombin
                                      provided sustained in vitro 44 and in vivo 45 inhibition                  the inhibition of factor Xa. Thus, UFH has an anti-Xa
An endogenous glycoprotein
that binds covalently to              of clot-associated procoagulant activity, which may, in                   to anti-IIa ratio of 1:1, LMWHs have anti-Xa to anti-
thrombin and other                    turn, protect against ongoing coagulation after cessation                 IIa ratios from 2:1 to 4:1, depending on the molecular
coagulation factors, resulting in     of anticoagulant treatment.                                               weight distribution of the preparation2.
their inhibition. Antithrombin            Overall, these data suggested that direct factor Xa                       Fondaparinux is an analogue of the pentasaccha-
functions as a natural
anticoagulant, and its
                                      inhibitors might not be linked to the phenomenon of                       ride sequence required to promote the binding of anti-
inhibitory action is accelerated      ‘rebound’ thrombosis that was associated with the direct                  thrombin to factor Xa2. The pentasaccharide structure is
by heparin.                           and indirect thrombin inhibitors previously under inves-                  too short to enable bridging between antithrombin and
                                      tigation46,47. Rebound thrombosis can be thought of as                    thrombin. As a result, fondaparinux exclusively potenti-
Warfarin
                                      a transient increase in thromboembolic events occur-                      ates the anti-factor Xa activity of antithrombin and has
A vitamin K antagonist that is
currently the most commonly           ring shortly after the withdrawal of an antithrombotic                    no effect on thrombin2. The efficacy and safety of fon-
used oral anticoagulant.              medication46,48. Furthermore, low concentrations of a                     daparinux for the prevention of VTE after major ortho-
                                      direct thrombin inhibitor may partly suppress the nega-                   paedic surgery were investigated in four randomized,
Vitamin K antagonist                  tive feedback on coagulation by APC, in contrast to fac-                  Phase III trials in patients undergoing surgery for hip
A class of compounds that
inhibit the vitamin K-dependent
                                      tor Xa inhibition, which does not seem to measurably                      fracture58, hip replacement 59,60 and knee replacement 61.
carboxylation of specific             affect the thrombin–thrombomodulin–APC system49.                          A meta-analysis of these trials showed the superior
coagulation factors, resulting in     However, whether these experimental observations have                     efficacy of fondaparinux over the LMWH enoxaparin
decreased levels of the               any clinical relevance remains to be determined.                          (Lovenox/Clexane; Sanofi–Aventis) in reducing the
affected coagulation factors,
                                                                                                                incidence of VTE. However, major bleeding occurred
leading to anticoagulation.
                                      The first synthetic factor Xa inhibitors                                  more frequently in the fondaparinux-treated group
Therapeutic window                    Although antistasin and TAP provided support for the                      (P=0.008), although the incidence of clinically relevant
The interval between the              concept of factor Xa inhibition, development of these                     bleeding (bleeding leading to death, reoperation or in
lowest dose of a drug that is         compounds was discontinued. The reasons were never                        a critical organ) did not differ between the treatment
sufficient for clinical
effectiveness and a higher dose
                                      disclosed. Nonetheless, the encouraging results from                      groups62. Fondaparinux provided the proof of princi-
at which adverse events or            studies using recombinant versions of the natural fac-                    ple that selective inhibition of factor Xa could provide
toxicity become unacceptable.         tor Xa inhibitors prompted several pharmaceutical                         clinically effective anticoagulation.


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                                                                                                                 seems to be sufficient to ensure normal systemic haem-
                                                                                                                 ostasis, possibly because thrombin has a very high
 FXII                FXIIa
                                                                                                                 affinity for platelet receptors and minimal amounts of
                                                                                                                 thrombin can provide sufficient platelet activation, thus
                                                                                                                 contributing to a favourable efficacy/safety ratio20. On
             FXI                 FXIa                                                         Extrinsic          the basis of these findings, in the mid-1990s, it seemed
                                                                                              pathway
                                                                                                                 that small-molecule, direct factor Xa inhibitors could
                                                                                                                 potentially provide an advantage over the antithrom-
Intrinsic              FIX                     FIXa                              FVIIa                    FVII
pathway                                                                                                          botic therapies available at that time. Several new factor
                             FVIII         FVIIIa                                        TF                      Xa inhibitors are now in clinical development. These
                                                                                                                 compounds, which include rivaroxaban and the other
                                                                                                                 direct factor Xa inhibitors discussed later, represent
                                                                                                                 new chemical entities with similar binding modes at the
                                      FX                        FXa                                              active site of factor Xa.
                                                          FVa
                                                                                                                 The discovery of rivaroxaban
                                                                                                                 From the first screening hit to the oxazolidinone lead.
                                               FV
        Unfractionated heparin                                                                                   When we initiated the factor Xa programme at Bayer
        (+ antithrombin)                                                                                         HealthCare in 1998, no orally active factor Xa inhibi-
        Vitamin K antagonists
        Direct factor Xa inhibitors                 FII                   FIIa                                   tors with sufficient antithrombotic activity were known.
        Fondaparinux (+ antithrombin)                                                                            All known potent inhibitors that had previously been
        LMWHs (+ antithrombin)                                                                                   investigated contained an amidine group or other highly
        Direct thrombin inhibitors
                                                          Fibrinogen                Fibrin                       basic residues, which were designed to act as mimics
Figure 2 | Simplified schematic for the blood coagulation cascade. The figure                                    for an arginine present in the natural substrate, pro-
identifies the target points of various anticoagulants and illustrates that factor X (FX) can                    thrombin. For a long time, these mimics were thought
be activated through either the intrinsic or the extrinsic pathway. The factor VIIa–tissue                       to be a prerequisite for high binding affinity 63. However,
factor (TF) complex (extrinsic tenase) activates both factor IX and factor X, as well as                         we found that strongly basic mimics contribute to poor
factor VII itself (dashed arrow)150,151. Initiation of either pathway activates the inactive                     oral absorption, an observation also later published by
precursor, factor X, to factor Xa. This makes factor Xa a desirable intervention point for                       others64,65.
novel anticoagulants, because it occupies a central role in the blood-coagulation
                                                                                                                     High-throughput screening of approximately 200,000
pathway20. Furthermore, in addition to initiation, both the intrinsic and extrinsic
pathways lead to the propagation and amplification of coagulation through the                                    compounds revealed several hits that selectively inhib-
activation of factor X. During the initiation phase of coagulation, the factor Xa produced                       ited the cleavage of a chromogenic substrate by human
generates some thrombin (factor IIa). This initial thrombin activates factor XI, and factors                     factor Xa63. The most potent of these hits was on a minor
V and VIII, to factor XIa and the activated cofactors, factor Va and VIIIa, respectively. It                     impurity in a combinatorial library — a phosphonium
also activates platelets (not shown), which are required for the formation of the intrinsic                      salt with an IC50 of 70 nM (compound 1 in FIG. 4). We
tenase (factor VIIIa–factor IXa) and the prothrombinase (factor Va–factor Xa) complexes.                         proposed that this positively charged phosphonium
The prothrombinase complex, on the platelet surface, is substantially more efficient than                        moiety might serve as an arginine mimic and could be
free factor Xa at activating prothrombin to thrombin; the rate of thrombin formation is                          interchangeable with an amidine group. This resulted in
increased by approximately 300,000-fold over the rate with factor Xa alone152. Thrombin                          the synthesis of lead compound 2 with similar potency
is the principal enzyme involved in the formation, growth and stabilization of thrombi.
                                                                                                                 (IC50 of 120 nM)63. Further optimization resulted in
Thrombin mediates the conversion of fibrinogen to fibrin, the activation of factor XIII
(which crosslinks and stabilizes fibrin), the activation of platelets and the                                    the synthesis of compounds of the isoindolinone class,
above-mentioned feedback-activation of upstream coagulation factors, factor V, factor                            among which imidazoline 3 (FIG. 4) was the most potent
VIII and factor XI151,153, resulting in the amplification of its own formation150,154. Because                   (IC50 of 2 nM).
one molecule of factor Xa catalyses the formation of approximately 1,000 thrombin                                    To achieve oral bioavailability, we explored less basic
molecules25,154, this amplification can be substantial. Compared with thrombin, factor Xa                        or non-basic amidine replacements. Aminopyridines,
is thought to have fewer effects outside coagulation and, together with factor Va (as the                        such as compound 4 (IC50 of 8 nM; FIG. 4), showed IC50
prothrombinase complex), acts mainly to convert prothrombin to thrombin. Specific                                values in the low nanomolar range; however, although
inhibition of factor Xa does not affect pre-existing thrombin but does inhibit thrombin                          they were less basic, oral absorption remained insuf-
generation155. Conversely, although thrombin generation is delayed in the presence of a                          ficient. The less potent pyridylpiperazine derivative 5
thrombin inhibitor, the amount of thrombin generated is only reduced at higher inhibitor
                                                                                                                 (IC50 of 48 nM), meanwhile, revealed a significantly
concentrations, albeit in a concentration-dependent manner156. LMWH, low-molecular-
weight heparin.                                                                                                  improved oral bioavailability of 38% in rats. Although
                                                                                                                 we had demonstrated that improved oral bioavailability
                                                                                                                 could be achieved using less basic amidine replacements,
                                                                                                                 we were not able to meet our target of identifying factor
                                        Numerous investigations, performed with both direct                      Xa inhibitors with both high potency and sufficient oral
                                     and indirect factor Xa inhibitors, showed that inhibi-                      bioavailability in the isoindolinone class of compounds.
                                     tion of factor Xa produces antithrombotic effects by                        However, from these studies we did learn that broad
                                     decreasing the generation of thrombin, thus diminish-                       variations in the benzylamidine part were permissible,
                                     ing thrombin-mediated activation of both coagulation                        but found that there was a very steep structure–activity
                                     and platelets without affecting the activity of existing                    relationship (SAR) for the chlorothiophene carboxamide
                                     thrombin. However, the residual thrombin generated                          moiety, which was already present in the lead structure.


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                                                                N                                                  OH                                                                  O        CH3    O
                                                                                   O         N       O                                                                                                         CH3
                                                            N                                                                                                                              N               O
                                                                                                                                                                                           H
                                                      H3C
                                                                                   F                 F
International normalized                                                                     N                                                             N+
                                                                                     H3C                 HN            NH2                            O–
ratio
(INR). Because prothrombin
                                                                                             O       OH                                                                                               HN       NH2
time-test results vary according
                                                                        Fidexaban                                                                                        Otamixaban
to the activity of the
                                                                        (ZK-807834, CI-1031)                                                                             (FXV673, RPR130673)
thromboplastin used, the INR
conversion is used to normalize                                                                                                                                          HO           O
                                                                             HO          O
results for any thromboplastin                                                                                                                                                        O
preparation. It is valid only with
                                                                                                                             NH2                 NH                                   S    O
vitamin K antagonists.
                                                                                                                                                                                      N                               NH2
                                         H 3C       N                                                                   NH                 H3C     N
Thromboprophylaxis                                                  O
                                                                                                                                                                                                                 NH
A measure taken to prevent                      NH                                                                                                              O
the development of a
                                                                             DX-9065a                                                                                                 YM-60828
thrombus. It can be
                                                                                                                                                                O
pharmaceutical or mechanical.                                                                                                                                                                          O

                                                                                                                                                                N                     N                    NH2
Tissue factor                                                                    O
A cell-membrane-bound                                                                                                                                                                                 N
                                                                                         O                                                                                            O          N
receptor protein that is                        O        N                     N                                        Cl
exposed to the circulating                                                                       H             S
                                                                                                 N
blood during vessel injury.                              O
Pre-existing factor VIIa in the
                                                                                                     O
blood binds to tissue factor,                                           Rivaroxaban                                                                                     Apixaban    O
initiating the coagulation                                              (BAY 59-7939)                                                                                   (BMS 562247) CH3
cascade.
                                                                                                                                                                                                CH3
Direct thrombin inhibitors                                   NH                                                                                                                       O         N
                                                                                                 H                                                                                                   CH3
A class of anticoagulants that                  H3C                                      O       N           N
                                                        N                                                                                                                                                        Cl
bind directly to thrombin and                                                        H
                                                        CH3                          N                                                                                      O                          N
block the interaction with its
                                                                                                                        Cl
substrate, fibrinogen, thereby                                                                                                                                      S
                                                                               O                                                                                                  N              HN
inhibiting the generation of                                                                             O                                                                        H
                                                                                                                                                 H3C N                  N                 HN
fibrin and clot formation.                                                                                                                                                                             O
                                                                                                         CH3
                                                                        Betrixaban                                                                                      Edoxaban                O
Thrombomodulin
                                                                        (PRT054021)                                                                                     (DU-176b)
A membrane-bound thrombin
receptor that, when bound to
                                                                                                                                                       NaO3SO
thrombin, functions as a                                                                                                                   NaO2C
                                                                                                 NaO2C             NaO3SO                                                     O           CH3
cofactor in the                                                         NaO3SO                                                                         O
                                                                                                                   O                  O                         O                     O
thrombin-induced activation of                                                               O                                               O
                                                                                                  O                          O
protein C.                                                                  HO
                                                                                                                                                               HO               NHSO3Na
                                                                                                                        NaO3SO             HO              OSO3Na
Protein C                                                                                        HO                    OH              NHSO3Na
                                                                                 HO          NHSO3Na
The inactive precursor of                                                                                                        Fondaparinux
activated protein C (APC). APC,
with its cofactor protein S,         Figure 3 | Structures of various factor Xa inhibitors. Fidexaban, otamixaban, DX-9065a, YM-60828, rivaroxaban
inactivates factor Va and factor     (Xarelto; Bayer HealthCare), apixaban (Pfizer/Bristol-Myers Squibb), betrixaban and edoxaban are shown. The structure
VIIIa, thus providing an             of YM150 has not been published. Not all of these compounds are still in clinical development (for example, fidexaban
important anticoagulant
                                     and DX-9065a) but study of their structures contributed to our understanding of the structure–activity relationships
feedback function.
                                     and pharmacology of factor Xa inhibitors. Key features to note are the highly basic arginine mimetic amidine groups as
Factor Xa inhibitor                  P1 moieties in fidexaban, otamixaban, DX-9065a and YM-60828, which contribute to poor oral bioavailability. These
A class of anticoagulants that       can be contrasted with the non-basic P1 moieties: the chlorothiophene moiety in rivaroxaban, the methoxyaryl group
inhibit factor Xa in the             in apixaban and the chloro-substituted pyridine rings in edoxaban and betrixaban, all of which allow improved oral
coagulation cascade, either by       bioavailability. Other synthetic factor Xa inhibitors have also been developed26. The structure of the synthetic indirect
binding directly, or indirectly      factor Xa inhibitor, fondaparinux (Arixtra; GlaxoSmithKline), is also shown. This is an analogue of the heparin
through antithrombin.                pentasaccharide sequence required to mediate the conformational change in antithrombin and subsequent binding
Inhibition of factor Xa reduces      to factor Xa2.
the production of thrombin.

Venous thromboembolism
(VTE). A condition in which a           The failure to find a compound with sufficient                                                    the chlorothiophene residue in the class of compounds
blood clot (thrombus) that has       potency and bioavailability could have ended the                                                     studied previously, we replaced the thiophene moiety of
formed in the venous system          project. However, we decided instead to re-evaluate                                                  compound 6 with a 5-chlorothiophene group, thereby
breaks free (becoming an
embolus) and migrates through
                                     the weaker screening hits. The oxazolidinone (com-                                                   creating lead compound 7 (FIG. 4). This had a >200-fold
the circulation to lodge in and      pound 6; FIG. 4) was a weak factor Xa inhibitor, with                                                higher potency (IC50 of 90 nM) and did not include any
block another blood vessel.          an IC50 of 20,000 nM. Considering the importance of                                                  basic group63.


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                         O                                                                    O                              Isoindolinones

                        N                                                                    N                                                                             N
                                                                                                                                       N          N       N
     O                   O           HN                Cl                   R                             HN                 Cl                                       O       O     HN               Cl
 R                                               S                                                                      S                                                                      S
                                          O                                                                    O                                                                         O

                             –                                                                        *                                                  5
                    N CF3COO
                                                                                    HN                    IC50 = 2 nM                                    IC50 = 48 nM
1 R=         N      P+       *   IC50 = 70 nM                               3 R=             N            Oral bioavailability: <1%                      Oral bioavailability: 38%
                    N
                                                                                              *
                                                                                    HN
                         *                                                                                IC50 = 8 nM
2 R = H2N                        IC50 = 120 nM                              4 R=                          Oral bioavailability: <1%
                    NH                                                                       N


                                                                                       Oxazolidinones
                F                O                                              F            O                                                                    O

                                          O                                                           O                                                                    O
 S       N                       N                                         R              N                                                   R                   N


                                          HN                R                                             HN                Cl                                                HN               Cl
                                                      S                                                             S                                                                    S
                                                O                                                              O                                                                   O
     6 R=H           IC50 = 20,000 nM
                                                                           8 R= O         N       *       IC50 = 32 nM                        10 R =          N           * IC50 = 4 nM
     7 R = Cl        IC50 = 90 nM                                                                                                                                           Oral bioavailability: 65%
                                                                                                          Oral bioavailability: 94%
                                                                                                                                                              O

                                                                           9 R=          N                IC50 = 40 nM                        11 R = O            N       *
                                                                                                                                                                               IC50 = 0.7 nM
                                                                                                  *
                                                                                                                                                                               Oral bioavailability: 60%
                                                                                                                                                                  O
                                               Figure 4 | Optimization of oxazolidinone factor Xa inhibitors. Optimization of oxazolidinone factor Xa inhibitors
                                               resulted in the discovery of rivaroxaban (compound 11)63. Half-maximal inhibitory concentration (IC50) values are for the
                                               inhibition of factor Xa activity; oral bioavailability is shown for rats.


                                                  On the basis of this promising lead, a medicinal                             The optimization programme was continued in
                                               chemistry programme was followed that focused on fur-                        order to gain a more in-depth understanding of the
                                               ther improving the potency of the oxazolidinone class                        SAR. However, further variations evaluated at this time,
                                               without compromising its pharmacokinetic profile.                            such as substitution of the aryl ring or less lipophilic
                                                                                                                            replacements for the chlorothiophene carboxamide
                                               The optimization programme leading to rivaroxa-                              moiety, did not result in further improvements63, and
                                               ban. The starting point of these investigations was the                      the morpholinone derivative 11 (rivaroxaban) remained
                                               thiomorpholine group; morpholine and pyrrolidine                             the most attractive candidate. The X-ray crystal struc-
                                               derivatives (compounds 8 and 9; FIG. 4) showed some                          ture of rivaroxaban in complex with human factor Xa63
                                               improvement in potency (IC50 values of 32 nM and                             (BOX 1) helped us to understand its binding mode and to
Deep-vein thrombosis
                                               40 nM, respectively). Although not sufficiently potent,                      explain the steep SAR observed earlier. A similar bind-
(DVT). A blood clot in a deep
vein, usually in the leg. Distal               compound 8 was the first compound to show a favour-                          ing mode has been reported for several other factor Xa
DVT occurs in the calf, whereas                able pharmacokinetic profile, with a high oral bioavail-                     inhibitors66–70 (BOX 1).
proximal DVT occurs above the                  ability of 94% in rats. An ortho-substitution led to the                        With its combination of high binding affinity and
knee.                                          pyrrolidinone derivative 10, with significantly improved                     good oral bioavailability, rivaroxaban was identified as
Pulmonary embolism
                                               potency (IC50 of 4 nM) and an oral bioavailability of                        the drug candidate for further development.
A blood clot or                                65%. However, the in vivo antithrombotic potency of
thromboembolus in a                            this compound, evaluated in an arteriovenous shunt                           Preclinical studies
pulmonary blood vessel. Such                   model in anaesthetized rats, was estimated to be too                         Rivaroxaban is a direct, specific factor Xa inhibitor that,
emboli generally originate from
                                               low 63. Our knowledge of the SAR then led us to design                       unlike indirect agents such as fondaparinux, does not
a deep-vein thrombosis and
can cause permanent lung                       the morpholinone residue, resulting in compound 11                           require a cofactor 71. In vitro kinetic studies showed that
damage, chronic pulmonary                      (rivaroxaban; FIG. 4), for which binding to factor Xa                        the inhibition of human factor Xa by rivaroxaban was
hypertension and death.                        depends on the (S)-configuration at the oxazolidinone                        competitive (Ki of 0.4 nM), with >10,000-fold greater
                                               core. Rivaroxaban showed increased potency in vitro                          selectivity for factor Xa than for other serine proteases71.
Haemostasis
The complex process that leads
                                               (IC50 of 0.7 nM) and in vivo after oral administration in                    Rivaroxaban inhibits prothrombinase (IC50 of 2.1 nM)71
to the formation of a blood clot,              rats63. This compound also showed favourable oral bio-                       and initial data suggest that it also inhibits clot-bound
causing bleeding to stop.                      availability (60% in rats and 60–86% in dogs)63.                             factor Xa activity (IC50 of 75 nM)72. In human plasma,


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                                     Box 1 | Binding mode of rivaroxaban
                                     The figure shows the X-ray crystal structure
                                     of rivaroxaban (carbons coloured orange)
                                     in complex with human factor Xa63.                                             Asp102
                                     Essential amino acids and binding pockets
                                     (S1 and S4) are indicated; hydrogen bonds                                                           His57
                                     are shown as dotted lines.                                                  Tyr99                                Ser195
                                       Two hydrogen bonds are formed between
                                     rivaroxaban and the amino acid Gly219 of                                                      Tyr228
                                     factor Xa. The first, a strong interaction                         Trp215
                                     (2.0 Å), is from the carbonyl oxygen of the
                                     oxazolidinone core. The second, weaker
                                                                                                   S4                                          S1
                                     interaction (3.3 Å), is from the amino group
                                     of the chlorothiophene carboxamide
                                     moiety. These two hydrogen bonds support
                                     the oxazolidinone core in directing its
                                     substituents into the S1 and the S4 subsites                                                             Asp189
                                                                                              Phe174
                                     of factor Xa. This results in rivaroxaban
                                     forming an L-shape, a binding mode typical
                                     of synthetic, direct factor Xa inhibitors63.                                                Gly219
                                       The aromatic rings of Tyr99, Phe174 and
                                     Trp215 in factor Xa define a narrow
                                     hydrophobic channel that comprises the S4
                                     pocket. The morpholinone moiety of rivaroxaban is ‘sandwiched’ between Tyr99 and Phe174, while its aryl ring is oriented
                                     perpendicularly, extending across the face of Trp215. There is no direct interaction between the morpholinone carbonyl
                                     group and the factor Xa backbone; rather, this carbonyl group contributes to a planarization of the morpholinone ring,
                                     further supporting the sandwich-like arrangement63. Using the morpholinone moiety, as well as other six-membered rings
                                     such as lactames or pyridinones, we found new, non-basic P4 residues (see REF. 146 for patent application), yielding
                                     strongly increased binding to factor Xa. Such residues have since been used successfully for several other factor Xa
                                     inhibitors69,147, including apixaban148 and PD0348292 (eribaxaban)149.
                                       In the S1 pocket of factor Xa, the key interaction is between the chlorine substituent of the thiophene moiety and the
                                     aromatic ring of Tyr228 at the bottom of the S1 pocket. This novel interaction obviates the need for strongly basic groups,
                                     such as amidines, to achieve high factor Xa affinity, and therefore enables non-basic rivaroxaban to achieve both high
                                     potency and good oral bioavailability63. A similar binding mode has been found and reported for several other factor Xa
                                     inhibitors66–70.
                                     Figure modified, with permission, from REF. 63 ¡ (2005) American Chemical Society.
Fibrinogen
A soluble plasma protein that,
in the final phase of the
coagulation process, is             rivaroxaban inhibited thrombin generation — and there-                    Rivaroxaban demonstrated anticoagulant effects in
converted to fibrin by              fore the amplification processes of coagulation — through             human plasma, with the prothrombin time being more
thrombin. Fibrin then               the inhibition of factor Xa generated by either the intrin-           sensitive than the activated partial thromboplastin time71, a
polymerizes and forms the           sic or the extrinsic coagulation pathways73,74. Thrombin              finding also observed with other direct factor Xa inhibi-
fibrous network base of a clot.
                                    generation was almost completely inhibited in platelet-               tors in clinical development 78,79. This may be because
Oral bioavailability                rich plasma at physiologically relevant concentrations                direct factor Xa inhibitors, including rivaroxaban 71,
The total proportion of             (80–100 nM) of rivaroxaban73. This and other studies dem-             are highly effective inhibitors of the prothrombinase
pharmacologically active drug       onstrated that rivaroxaban prolonged the initiation phase             complex, although differences in enzyme kinetics may
that enters the systemic
                                    of thrombin generation, potently inhibited the physiologi-            also be responsible20. A dose-dependent prolongation
circulation after oral
administration. It is affected by   cally relevant prothrombinase complex-bound factor Xa                 of prothrombin time was demonstrated in vivo in rat
both absorption and local           on the surface of activated platelets71 and reduced the               and rabbit models, with a strong correlation observed
metabolic inactivation.             thrombin burst produced in the propagation phase73.                   between prothrombin time and plasma concentrations
                                        In addition, preliminary work has shown that rivar-               of rivaroxaban (r=0.98)71.
Prothrombin time
A laboratory test that
                                    oxaban inhibits thrombin generation in the presence                       In vivo, rivaroxaban given prophylactically had potent
measures clotting time in the       and absence of thrombomodulin in human plasma in a                    and consistent antithrombotic effects in venous71,80 and
presence of tissue factor           concentration-dependent manner. This suggests that it                 arterial71 thrombosis models in rats and rabbits. In a rab-
(thromboplastin). It is used to     does not interfere with the thrombin–thrombomodulin–                  bit treatment model, rivaroxaban reduced the accretion
assess the activity of the
                                    APC system and, therefore, probably does not suppress                 of radiolabelled fibrinogen into preformed clots in the
extrinsic coagulation pathway.
                                    APC-mediated negative feedback75, as was shown for                    jugular vein, relative to untreated controls80. Bleeding
Activated partial                   DX-9065a49. Further preliminary data suggested that                   times in rats and rabbits were not significantly affected at
thromboplastin time                 rivaroxaban did not directly affect platelet aggregation              antithrombotic-effective doses71, indicating a favourable
A laboratory test that measures     in platelet-rich plasma induced by thrombin, adeno-                   efficacy/bleeding ratio.
the clotting time of plasma
after contact activation. It
                                    sine diphosphate or collagen76, but potently inhibited                    Although rivaroxaban has a short half-life in
assesses the function of the        tissue-factor-induced platelet aggregation in an indirect             humans 81,82 (see the Xarelto Summary of Product
intrinsic coagulation pathway.      manner, by inhibiting thrombin generation77.                          Characteristics (SMPC) from the European Medicines


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                                    Agency (EMA); Further information), it may be of                    of both CYP3A4 and P-gp such as ketoconazole or HIV
                                    interest to determine whether the anticoagulant effect of           protease inhibitors such as ritonavir is not recommended.
                                    rivaroxaban can be reversed, because there might be rare            In addition, rivaroxaban should be used with caution if
                                    instances in which this would be of use — for example,              strong CYP3A4 inducers are administered concomitantly
                                    a need for emergency surgery. However, it is worth not-             (EMA’s CHMP report for rivaroxaban).
                                    ing that several established anticoagulants also lack full              Rivaroxaban has a low propensity for drug–drug inter-
                                    antidotes. For example, the anticoagulant effect of the             actions with frequently used concomitant medications
                                    LMWHs is only partly reversed by protamine sulphate2                such as naproxen88 and asprin89, and no interaction with
                                    and there is no available antidote for fondaparinux (see            the cardiac glycoside digoxin (Lanoxin; GlaxoSmithKline)
                                    Arixtra’s prescribing information; Further information).            (D. Kubitza, unpublished observations).
                                    Preliminary studies in primates and rats have been con-                 Furthermore, dietary restrictions are not necessary
                                    ducted to evaluate possible antidotes for rivaroxaban.              at the 10 mg once-daily dose; rivaroxaban was given
                                    These studies suggested that recombinant factor VIIa,               with and without food in the Phase III VTE-prevention
                                    activated prothrombin complex concentrate (FEIBA                    studies (RECORD studies 1–4)90–93 (EMA’s SMPC on
                                    (factor VIII inhibitor bypassing activity); Baxter)83 and           rivaroxaban).
                                    prothrombin complex concentrate84 can partially reverse,                Rivaroxaban is distributed heterogeneously to tissues
                                    in a dose-dependent manner, the effects of high-dose                and organs, and exhibits only moderate tissue affinity in
                                    rivaroxaban on bleeding time. However, it is important to           rats; importantly, it does not substantially penetrate the
                                    note that there is no clinical experience with any of these         blood–brain barrier 94. However, like many small mol-
                                    reversal strategies (see the EMA’s SMPC on rivaroxaban;             ecules, rivaroxaban is expected to be able to cross the pla-
                                    Further information).                                               centa, although specific studies have not been published.
                                                                                                        In vitro and Phase I studies showed that rivaroxaban has
                                    Clinical pharmacology                                               a dual mode of elimination, with one-third eliminated
                                    In Phase I and Phase II studies, rivaroxaban exhibited              unchanged by the kidneys and two-thirds metabolized by
                                    predictable pharmacokinetic and pharmacodynamic                     the liver to inactive metabolites, with no major or active
                                    profiles, as follows. It is rapidly absorbed, with maximum          circulating metabolites detected in plasma95,96. Elimination
                                    plasma concentrations (Cmax) occurring 2–4 hours after              of rivaroxaban from plasma occurs with a mean terminal
                                    tablet intake82,85. Oral bioavailability of rivaroxaban is          half-life of 7–11 hours81,82 (EMA’s SMPC on rivaroxaban).
                                    decreased at higher doses, possibly owing to poor solu-             With a systemic clearance rate of approximately 10 L h–1,
                                    bility. However, at the currently approved 10 mg dose,              rivaroxaban can be classified as a low-clearance drug97,98.
                                    oral bioavailability is 80–100%85.                                  Low intra-individual and moderate inter-individual phar-
                                        Food (a high-fat, high-calorie meal) did not affect the         macokinetic variability have been observed97,98. In Phase I
                                    area under the plasma concentration–time curve (AUC)                studies, the coefficient of variation for AUC ranged from
                                    or Cmax for the 10 mg tablet (EMA’s SMPC on rivaroxa-               18% to 33%, and for Cmax from 16% to 39%, for inter-
                                    ban). Rivaroxaban was safe and well tolerated across a              individual variability. Median intra-individual variability
                                    wide dose range, with dose-proportional pharmacoki-                 was only 14% and 19% for AUC and Cmax, respectively
                                    netics and pharmacodynamics. No relevant accumula-                  (EMA’s CHMP report for rivaroxaban).
                                    tion was observed at any dose level after multiple dosing               Rivaroxaban inhibited factor Xa activity in a dose-
                                    in healthy subjects at steady state82.                              dependent manner after single dosing in healthy sub-
                                        Rivaroxaban is metabolized by CYP450 isoforms, par-             jects. Rivaroxaban also inhibited thrombin generation
                                    ticularly CYP3A4, which is strongly inhibited by ketoco-            in healthy subjects, and some parameters of thrombin
                                    nazole and ritonavir (see prescribing information from              generation remained inhibited for 24 hours after admin-
                                    Janssen Pharmaceutica (ketoconazole) and Abbott (riton-             istration of a 30 mg dose74. These results offered the first
                                    avir), and the EMA’s Committee of Medicinal Products                indication that once-daily dosing might be feasible.
                                    for Human Use (CHMP) report for rivaroxaban; Further                    There were close correlations between pharmacoki-
                                    information). These drugs were, therefore, predicted                netic and pharmacodynamic parameters82. Rivaroxaban
                                    to affect the metabolism of rivaroxaban and, because                plasma concentrations correlated closely with prolonga-
CYP450 isoforms                     both drugs are also strong inhibitors of P-glycoprotein             tion of prothrombin time and inhibition of factor Xa.
Many therapeutic drugs are          (P-gp) and CYP3A4 (REFS 86,87), may increase plasma                 Plasma concentrations correlated with prothrombin
metabolized by cytochrome
P450 (CYP450) enzymes, a
                                    concentrations of rivaroxaban. This expectation was                 time both in healthy volunteers82 and in patients under-
‘superfamily’ of related but        confirmed in subsequent Phase I studies that showed a               going either total hip replacement (THR) or total knee
distinct enzymes that differ in     strong interaction between rivaroxaban and these two                replacement (TKR) in Phase II studies97.
their substrate specificity.        drugs. However, there was no clinically relevant inter-                 Various Phase I and II studies, using total daily doses
                                    action with clarithromycin, a strong CYP3A4 inhibitor               ranging from 5 mg to 80 mg, indicated that rivaroxa-
Creatinine clearance
The rate at which the kidney        but only a moderate inhibitor of P-gp, indicating that              ban could be given irrespective of age, gender 81, body
clears the blood of creatinine (a   rivaroxaban may be used with substances that strongly               weight 99 and mild (creatinine clearance: 50–79 ml min–1)
waste product from muscles          inhibit only one of the two elimination pathways (see               to moderate (creatinine clearance: 30–49 ml min–1) renal
that is excreted at a fairly        the EMA’s SMPC on rivaroxaban and prescribing infor-                impairment 100. A further preliminary clinical study sug-
constant rate). Creatinine
clearance is used as an
                                    mation from Janssen Pharmaceutica (ketoconazole) and                gested that rivaroxaban can also be given irrespective
approximation of the                Abbott (ritonavir)). Conversely, these findings show that           of mild hepatic impairment (classified as Child–Pugh
glomerular filtration rate.         concomitant use of rivaroxaban with strong inhibitors               class A)101. Fixed doses of rivaroxaban were administered


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    Timeline | Rivaroxaban: more than a decade of progress                                                         Results of the RECORD1, 2 and
                                                                                                                                                        EINSTEIN DVT and EINSTEIN EXT
                                                                                                                   3, and EINSTEIN DVT Phase II
                                                                                                                                                        Phase III results published119
                                                                                                                   studies are published90–92, 117

                                                                                                                   Rivaroxaban approved and             ROCKET AF clinical trial data
   Bayer HealthCare         Preclinical studies                                                The RECORD          launched in the EU and Canada        presented (http://sciencenews.
   initiates the factor     on rivaroxaban                       Phase II studies              clinical trial      for VTE prophylaxis after hip or     myamericanheart.org/pdfs/
   Xa programme             are initiated                        initiated                     programme begins    knee replacement                     ROCKET_AF_pslides.pdf)




   1998            1999           2000             2002              2003            2004            2005         2007              2008              2009            2010



           A new class of             Rivaroxaban shows                       Phase II studies          RECORD1 and 3 show                 FDA Advisory Committee
           compounds, the             favourable pharmacokinetic              suggest a favourable      rivaroxaban to be more             meeting
           oxazolidinones, is         and pharmacodynamic                     benefit–risk              effective than enoxaparin in
           identified and             profiles in Phase I studies82,85        profile103–105            the prevention of VTE, with        RECORD4 and ATLAS ACS
           optimized, leading                                                                           a comparable safety profile.       TIMI 46 data published93,114
           to the discovery of            Phase I studies show                                          RECORD2 shows benefit of
           rivaroxaban                    rivaroxaban to be                                             extended prophylaxis with
                                          well tolerated81,82,85                                        rivaroxaban90–92

                                                                                                        Regulatory file submitted
                                                                                                        for approval to the EMA

   DVT, deep-vein thrombosis; EMA, European Medicines Agency; EU, European Union; FDA, US Food and Drug Administration; VTE, venous thromboembolism.



                                     in Phase II studies investigating rivaroxaban for the pre-                      VTE prophylaxis after total hip or knee replacement.
                                     vention or treatment of VTE, with no restrictions on                            A large, comprehensive Phase II programme involving
                                     gender, or mild or moderate renal impairment 102–105.                           about 2,900 patients assessed both once-daily and twice-
                                     These parameters were shown to have no clinically                               daily dosing regimens102–105. Collectively, these studies
                                     relevant effect on the pharmacokinetics and pharma-                             demonstrated an optimal dose range of 5–20 mg per
                                     codynamics of rivaroxaban97. In addition, rivaroxaban                           day 109, and indicated that rivaroxaban 10 mg once daily
                                     had no effect on heart-rate-corrected QT interval pro-                          had the optimum balance of efficacy and safety, relative
                                     longation106. Owing to its pharmacokinetic and phar-                            to enoxaparin 40 mg once daily 103 (FIG. 5).
                                     macodynamic profiles, rivaroxaban can be given at                                   On the basis of the results of the Phase II studies,
                                     fixed doses to adult patients with no requirement for                           rivaroxaban 10 mg once daily was selected for investiga-
                                     routine coagulation monitoring. However, there may be                           tion in the Phase III RECORD programme, which com-
                                     rare occasions when monitoring is of use — for exam-                            prised four large studies involving a total of more than
                                     ple, where poor compliance is suspected or emergency                            12,500 patients undergoing elective THR or TKR90–93
                                     surgery is required, or to confirm a possible overdose.                         (TABLE 2). In all four studies, the primary efficacy end
                                     This concern has led to the evaluation of a number of                           point was the composite of any DVT, as detected by
                                     different assay types. Initial results suggest that, in light                   mandatory, bilateral venography, non-fatal pulmonary
                                     of an apparent strong correlation between the extent of                         embolism and all-cause mortality. The primary safety
                                     factor Xa inhibition and rivaroxaban plasma concen-                             end point was major bleeding, which in the RECORD
                                     tration, chromogenic assays for factor Xa may be par-                           programme did not include surgical-site bleeding 90–93.
                                     ticularly suited for the quantification of rivaroxaban in                           The RECORD1 and 3 studies were designed to compare
                                     plasma107,108.                                                                  rivaroxaban 10 mg once daily with the standard of care —
                                                                                                                     enoxaparin 40 mg once daily — both given for 31–39 days
                                     Clinical development of rivaroxaban                                             (extended prophylaxis) after THR (RECORD1)90 or for
                                     Rivaroxaban is approved for the prevention of VTE after                         10–14 days after TKR (RECORD3)92. In both studies,
                                     elective hip or knee replacement in approximately 100                           rivaroxaban was more effective than enoxaparin for the
Chromogenic assay                    countries, including member states of the European                              prevention of VTE90,92 (TABLE 2). Furthermore, the inci-
An enzymatic assay in which a
colour develops during the
                                     Union (as of 30 September 2008) and Canada (as of                               dence of major bleeding was comparable and not signifi-
course of the reaction, which        16 September 2008). Clinical development is ongoing                             cantly different between treatment groups90,92. RECORD3
can then be measured spectro-        for the prevention and treatment of thromboembolic                              also showed a significant reduction in symptomatic VTE
photometrically. Colour              disorders in other conditions, including the treatment                          for rivaroxaban92.
development is reduced in the
                                     of VTE, the prevention of VTE in hospitalized, medi-                                RECORD2 investigated the efficacy and safety
presence of an inhibitor.
                                     cally ill patients (for example, patients hospitalized with                     of extended thromboprophylaxis with rivaroxaban
Venography                           an acute medical condition, such as cancer, heart failure                       (35 days; range 31–39 days) compared with short-term
Radiography of the veins after       or respiratory failure, or requiring intensive care), as well                   enoxaparin treatment (10–14 days) followed by placebo
intravenous injection of a           as the prevention of stroke in patients with atrial fibril-                     in patients undergoing THR91. The results demonstrated
radioactive isotope or contrast
dye. This can be used to
                                     lation and secondary prevention in patients with ACS.                           that extended prophylaxis with rivaroxaban (10 mg
confirm the presence of              The TIMELINE highlights the development of rivaroxaban                          once daily) was superior to short-term prophylaxis with
deep-vein thromboses.                during the past decade.                                                         enoxaparin (40 mg once daily) followed by placebo for


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                                                                                                                              was similar in both treatment groups113. Liver safety is
                             $$ )  "                                                                             also an important consideration in regulatory review. In
                           #&('&&'( * $ !                                                                           a Phase II trial of rivaroxaban in patients with ACS, no
                                                                                                                                 patient who had received rivaroxaban for 6 months had
              
                                                                                                                                 an alanine-amino-transferase level greater than three
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                                                                                                               
                                                                                                      
                                                                                                                                 times the upper limit of normal or total bilirubin greater
                                                                                                                                 than twice the upper limit of normal114.
   




                                                                                                                                  These studies were also conducted with no routine
                                                                                                                                 coagulation monitoring and no dose adjustment for
                                                                                                      
                                                                                                                                 demographic variables, consistent with preliminary
                                                                                                                                 results from pooled subgroup analyses115.
              

                                                                                                                                 Treatment of VTE. The efficacy and safety of rivaroxaban
                                                                                                                                 for the treatment of VTE were assessed in two Phase IIb
                                                                                                                               dose-ranging studies 116,117. These studies suggested
                                                                            &+ ' (                                  that rivaroxaban had good efficacy and a similar safety
                                     & $ $ &&(* (&+    %!                                                        profile, compared with standard therapy, for the treat-
Figure 5 | Efficacy and safety dose–response relationships. The figure shows the                                                 ment of acute symptomatic DVT. An initial intensified
dose–response relationships between rivaroxaban total daily dose and the primary                                                 twice-daily regimen (rivaroxaban 15 mg twice daily for
efficacy end point (any deep-vein thrombosis (DVT); non-fatal pulmonary embolism (PE)                                            3 weeks) followed by convenient 20 mg once-daily dos-
and all-cause death) and primary safety end point (major bleeding) in the once-daily
                                                                                                                                 ing for 3, 6 or 12 months was selected for investigation
study investigating rivaroxaban for the prevention of venous thromboembolism after
total hip replacement103. Solid lines show the dose–response curves (logistic regression),                                       in Phase III studies. The efficacy and safety of rivaroxa-
blue hatched lines represent 95% confidence intervals for efficacy and red hatched                                               ban for the treatment of VTE are being assessed in three
lines represent 95% confidence intervals for safety. Details for 40 mg enoxaparin once                                           Phase III studies involving approximately 9,000 patients
daily, the current European standard of care, are shown for comparison. Figure                                                   in total— EINSTEIN DVT (ClinicalTrials.gov identifier:
reproduced, with permission, from REF.103 ¡ (2006) Lippincott Williams & Wilkins.                                                NCT00440193), EINSTEIN PE (NCT00439777) and
                                                                                                                                 EINSTEIN EXT (NCT00439725).
                                                                                                                                     EINSTEIN PE (pulmonary embolism) is still ongo-
                                         the prevention of VTE, including symptomatic events91                                   ing. However, data for EINSTEIN DVT (presented at
                                         (TABLE 2). Despite rivaroxaban being given for 3 weeks                                  the 2010 American Society of Hematology meeting118
                                         longer than enoxaparin, the incidence of treatment-                                     and recently published119) showed that rivaroxaban
                                         emergent major bleeding (that is, up to 2 days after the                                (15 mg twice daily for 21 days followed by 20 mg once
                                         last dose of study medication) was <0.1% in both treat-                                 daily) was non-inferior for the prevention of recurrent
                                         ment groups. Guidelines recommend a minimum dura-                                       symptomatic VTE in comparison to the current standard
                                         tion for prophylaxis of 10 days, and also recommend that                                of care (enoxaparin 1.0 mg kg–1 twice daily for ≥5 days
                                         prophylaxis be extended for up to 35 days for patients                                  followed by VKA titrated to INR 2.0–3.0). First symp-
                                         undergoing THR110. The RECORD2 study provided                                           tomatic recurrent VTEs occurred in 2.1% of patients
                                         additional confirmation of the benefits of extended                                     receiving rivaroxaban compared with 3.0% of those in
                                         prophylaxis over short-term prophylaxis after THR.                                      the enoxaparin/VKA treatment arm. Major or non-major
                                             RECORD4 compared the efficacy and safety of oral                                    clinically relevant bleeding occurred in 8.1% of patients
                                         rivaroxaban 10 mg once daily with the commonly used                                     in each treatment arm119.
                                         North American regimen of enoxaparin 30 mg twice                                            In the EINSTEIN EXT trial, 1,196 patients (intention-
                                         daily in patients undergoing TKR93. Rivaroxaban was sig-                                to-treat population) who had completed 6–12 months
                                         nificantly superior to enoxaparin for the primary efficacy                              of anticoagulant therapy for the acute index event (VTE)
                                         end point, with no significant difference in the rates of                               were randomized to an additional 6–12 months of therapy
                                         major bleeding between the two groups (TABLE 2). So far,                                with either rivaroxaban, 20 mg once daily, or placebo119.
                                         rivaroxaban is the only new oral anticoagulant to dem-                                  Study medication was administered for a mean period
                                         onstrate superior efficacy over the greater dose intensity                              of 190 days in each treatment group. Recurrent sympto-
                                         of the North American enoxaparin regimen93,111,112.                                     matic VTE events were observed in 7.1% and 1.3% of the
                                             A comparison of rivaroxaban with enoxaparin in                                      placebo and rivaroxaban treatment groups, respectively
                                         these four studies showed the efficacy and safety of rivar-                             (hazard ratio 0.18, P<0.0001), a relative risk reduction of
                                         oxaban in the prevention of VTE in patients undergoing                                  82% with rivaroxaban119 (hazard ratio, 0.68; 95% confi-
                                         elective THR or TKR. The superiority of rivaroxaban                                     dence interval, 0.44–11.04; P<0.001 for non-inferiority).
                                         for the primary efficacy end point was demonstrated in                                  Major bleeding did not occur in any placebo-treated
Index event                              all four studies. Rivaroxaban also showed a good safety                                 patients and occurred in four (0.7%) rivaroxaban-treated
The acute event that leads to a          profile, with a low incidence of major bleeding, com-                                   patients, although none of these occurred in a critical
patient’s initial presentation.          parable to that observed with enoxaparin90–93, and no                                   location or proved fatal119.
The term can also refer to the           evidence of compromised liver function attributable to
initial event resulting in a
patient’s inclusion in a
                                         rivaroxaban113. Furthermore, the incidence of haemor-                                   Thromboprophylaxis in medically ill patients. A
follow-up study, such as a               rhagic wound complications (composite of excessive                                      Phase III study (NCT00571649) has been initiated to
survey of recurrent strokes.             wound haematoma and reported surgical-site bleeding)                                    investigate the efficacy and safety of VTE prophylaxis


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 Table 2 | Incidence of venous thromboembolism and bleeding events across the four RECORD* studies
End points‡                   Efficacy end point (% (n/N))                                     Safety end points (patients with bleeding events) (% (n/N))
                              Total VTE            Major VTE               Symptomatic Major bleeding                              Major and non-major
                                                                           VTE                                                     clinically relevant bleeding
RECORD1 (THR: prophylaxis administered for 35 days)
Enoxaparin (40 mg once        3.7 (58/1,558)       2.0 (33/1,678)          0.5 (11/2,206)      0.1 (2/2,224)                       2.5 (56/2,224)
daily)
Rivaroxaban (10 mg            1.1 (18/1,595)       0.2 (4/1,686)           0.3 (6/2,193)       0.3 (6/2,209)                       3.2 (70/2,209)
once daily)
P value                       <0.001               <0.001                  0.22                0.18                                NS§
RECORD2 (THR: extended rivaroxaban prophylaxis, 35 days, versus short-term enoxaparin, 14 days, followed by placebo)
Enoxaparin (40 mg once        9.3 (81/869)         5.1 (49/962)            1.2 (15/1,207)      <0.1 (1/1,229)                      2.8 (34/1,229)
daily/placebo)
Rivaroxaban (10 mg            2.0 (17/864)         0.6 (6/961)             0.2 (3/1,212)       <0.1 (1/1,228)                      3.3 (41/1,228)
once daily)
P value                       <0.0001              <0.0001                 0.004               0.98 (REF. 157)                     NR
RECORD3 (TKR: prophylaxis administered for 14 days)
Enoxaparin (40 mg once        18.9 (166/878)       2.6 (24/925)            2.0 (24/1,217)      0.5 (6/1,239)                       2.7 (34/1,239)
daily)
Rivaroxaban (10 mg            9.6 (79/824)         1.0 (9/908)             0.7 (8/1,201)       0.6 (7/1,220)                       3.3 (40/1,220)
once daily)
P value                       <0.001               0.01                    0.005               0.77                                0.44
RECORD4 (TKR: prophylaxis administered for 14 days)
Enoxaparin (30 mg             10.1 (97/959)        2.0 (22/1,112)          1.2 (18/1,508)      0.3 (4/1,508)                       2.3 (34/1,508)
twice daily)
Rivaroxaban (10 mg            6.9 (67/965)         1.2 (13/1,112)          0.7 (11/1,526)      0.7 (10/1,526)                      3.0 (46/1,526)
once daily)
P value                       0.012                0.124                   0.187               0.11                                0.18
 N, total number of patients evaluable in each treatment group; NR, not reported; NS, not significant; THR, total hip replacement; TKR, total knee replacement;
 VTE, venous thromboembolism. *The four RECORD studies90–93 compared rivaroxaban regimens with enoxaparin regimens (the current standard of care); summary
 results are shown in the table. ‡Results shown as number (n) of patients experiencing an event; patients could have more than one event. §P value not reported, but
 95% confidence interval for risk difference includes zero.



                                with rivaroxaban 10 mg once daily (for 35 ± 4 days),                     2008, and is expected to enrol up to 16,000 patients. Two
                                compared with short-term 40 mg once-daily enoxaparin                     doses of rivaroxaban, 2.5 mg and 5 mg twice daily, are
                                (administered for 10 ± 4 days followed by placebo), in                   being investigated on the basis of the results of a Phase IIb
                                hospitalized, medically ill patients.                                    study that assessed safety and efficacy in approximately
                                                                                                         3,500 patients with recent, non-ST-elevation myocar-
                                Stroke prevention in non-valvular atrial fibrillation.                   dial infarction, ST-elevation myocardial infarction or
                                Rivaroxaban 20 mg once daily has been compared with                      unstable angina114. As noted above, this trial also showed
                                warfarin for the prevention of stroke and non-central-                   no evidence of compromised liver function in patients
                                nervous-system systemic embolism in approximately                        receiving rivaroxaban for up to 6 months.
                                14,000 patients with non-valvular atrial fibrillation in a
                                Phase III study (NCT00403767)120. Patients with moderate                 Other direct factor Xa inhibitors in development
                                renal impairment (creatinine clearance: 30–49 ml min–1)                  Below, we discuss other direct factor Xa inhibitors that
                                received a fixed dose of 15 mg once daily. It was recently               are in advanced clinical development (Phase III).
                                reported at the 2010 American Heart Association
                                meeting that, in the ROCKET AF study, rivaroxaban                        Apixaban. Apixaban (developed by Pfizer/Bristol-Myers
                                significantly reduced the risk of stroke and non-central-                Squibb) is a small-molecule, oral, direct factor Xa inhibi-
                                nervous-system thromboembolism in patients with atrial                   tor (FIG. 3) that selectively and reversibly inhibits both free
                                fibrillation compared to warfarin, with comparable rates                 factor Xa (Ki of 0.08 nM) and prothrombinase activity79,121.
                                of bleeding (http://sciencenews.myamericanheart.org/                     Another study reported that apixaban reacts rapidly with
                                pdfs/ROCKET_AF_pslides.pdf).                                             factor Xa (kon 2 × 107 M–1 s–1) with high-affinity binding
                                                                                                         (Ki of 0.3 nM at 37 °C)122. Preclinical studies have shown
                                Secondary prevention in ACS. A Phase III study inves-                    that apixaban was well absorbed in chimpanzees, dogs
                                tigating secondary prevention of ischaemic events in                     and rats; mean oral bioavailability was 51% (chimpan-
                                patients with ACS (NCT00809965) was started in late                      zees), 88% (dogs) and 34% (rats)79. The drug is currently


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                         being evaluated in a number of thromboembolic indica-                the secondary prevention of recurrent VTE in patients
                         tions, including the prevention and treatment of VTE, the            with acute symptomatic proximal DVT or pulmonary
                         prevention of stroke in patients with atrial fibrillation and        embolism (NCT00986154).
                         the prevention of cardiovascular events in ACS.
                             In the Phase III programme for the prevention of VTE             YM150. YM150 (developed by Astellas) is also an oral,
                         after major orthopaedic surgery, apixaban did not meet               direct factor Xa inhibitor (Ki of 31 nM). Preliminary
                         the prespecified criteria for non-inferiority compared               data show that both YM150 and its major metabolite
                         with enoxaparin 30 mg twice daily (NCT00371683) for                  YM-222714 (Ki of 20 nM) have antithrombotic effects
                         VTE prevention after TKR111. However, a second study                 at doses that do not prolong template bleeding time in
                         (NCT00452530) conducted in patients undergoing TKR                   animal models of venous and arterial thrombosis133.
                         demonstrated superior efficacy for apixaban against                  Phase II trials for VTE prevention after THR134 or TKR
                         enoxaparin 40 mg once daily. Clinically relevant bleeding            (NCT00408239) have been completed, as has a warfarin-
                         (major or non-major) occurred in fewer patients given                controlled Phase II trial for stroke prevention in patients
                         apixaban, although the differences were not signifi-                 with atrial fibrillation (NCT00448214). Three Phase III
                         cant 123. A third study (NCT00423319), presented as an               trials are now in progress. One will assess once-daily and
                         abstract, assessed extended prophylaxis with apixaban                twice-daily doses of YM150 against enoxaparin for VTE
                         versus enoxaparin (40 mg once daily) in patients under-              prevention in patients undergoing elective hip replace-
                         going THR and also demonstrated superior efficacy for                ment (NCT00902928). In another Phase III trial, YM150
                         apixaban with similar rates of major and non-major                   is being compared with mechanical prophylaxis for
                         clinically relevant bleeding 124.                                    the prevention of VTE after major abdominal surgery
                             A Phase II trial in patients with ACS (NCT00313300)              (NCT00942435). A third study is being conducted in
                         assessed efficacy and safety in patients taking apixa-               Japan to evaluate YM150 for the prevention of VTE in
                         ban compared with placebo125. The developing compa-                  the 28 days following hospitalization for an acute medical
                         nies recently reported that a subsequent Phase III trial             illness (NCT01028950).
                         (NCT00831441) in patients with ACS investigating
                         whether apixaban (5 mg twice daily) is superior to pla-              Outlook
                         cebo has been halted (press release, Bristol-Myers Squibb;           For more than 65 years, VKAs have been the only avail-
                         Further information). In addition, other apixaban trials are         able oral anticoagulants, and although effective, the need
                         ongoing for VTE prevention in patients with acute medical            for dose adjustment and periodic coagulation monitoring
                         illness (NCT00457002), or recently completed for malig-              considerably complicates their clinical management. New
                         nant disease (NCT00320255), as well as Phase III trials              and improved anticoagulants could potentially address
                         for the treatment of VTE (NCT00633893, NCT00643201)                  the shortcomings associated with the current standard of
                         and trials for the prevention of stroke in patients with             care and it should be noted that other approaches, besides
                         atrial fibrillation (NCT00412984, NCT00496769)126,127.               the development of oral, direct factor Xa inhibitors, are
                         Data for the AVERROES trial (NCT00496769) were                       also being evaluated. For example, the parenteral direct
                         recently presented at the European Society of Cardiology             factor Xa inhibitor, otamixaban (developed by Sanofi–
                         Congress. Patients with atrial fibrillation who have either          Aventis), has completed Phase II trials for short-term use
                         been demonstrated to be or were expected to be unsuita-              in non-ST-elevation ACS135 and in percutaneous coronary
                         ble for treatment with VKAs received apixaban 5 mg twice             intervention136. The encouraging results obtained in these
                         daily or aspirin 81–324 mg per day. Preliminary results              studies have been followed by an ongoing Phase III trial in
                         showed that the primary end point of stroke or systemic              patients with unstable angina or non-ST elevation myo-
                         embolism occurred at a significantly lower rate in patients          cardial infarction undergoing an invasive intervention
                         receiving apixaban, with an absolute risk reduction of               (NCT01076764). Conversely, idraparinux, and its succes-
                         approximately 2% versus aspirin128.                                  sor idrabiotaparinux137 (Sanofi–Aventis; both now discon-
                                                                                              tinued) are parenterally administered pentasaccharides
                         Edoxaban. Edoxaban (developed by Daiichi Sankyo) is                  (indirect factor Xa inhibitors) with very long half-lives138
                         an oral, direct and specific factor Xa inhibitor with a Ki           that were developed to permit once-weekly dosing in
                         of 0.56 nM (FIG. 3); Ki values for other coagulation factors         indications requiring long-term or chronic therapy 139,140.
                         are >10,000-fold higher 78. In healthy volunteers, peak                  In addition, direct thrombin inhibitors are also in
                         plasma levels of edoxaban were observed at 1.5 hours                 development, most notably dabigatran (Pradaxa/Pradax;
                         after a single oral dose, corresponding to the maximum               Boehringer Ingelheim), which, like rivaroxaban, has
                         inhibition of factor Xa activity; and ex vivo thrombus               completed several Phase III thrombosis prevention and
                         formation was reduced at 1.5 hours and 5 hours after                 treatment studies141–144 and has been approved in mem-
                         administration129.                                                   ber states of the European Union and other countries for
                             Phase II trials in patients undergoing TKR130 or                 the prevention of VTE after elective hip or knee replace-
                         THR131 have been completed, as well as a Phase II trial              ment. Dabigatran is also in trials for a number of other
                         for stroke prevention in atrial fibrillation132, and two             indications, as is AZD0837 (developed by AstraZeneca),
                         Phase III trials are now under way. One is designed to               which is in Phase II145. Although indirect comparisons,
                         compare two different doses of edoxaban with warfarin                based on meta-analyses, can be conducted, direct com-
                         for stroke prevention in patients with atrial fibrillation           parative trials are required for a comprehensive evalua-
                         (NCT00781391) and another is evaluating edoxaban for                 tion of one particular drug regimen versus another.


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                                           In the future, it is anticipated that long-term antico-                   profile, are given orally and do not require routine
                                       agulant therapy will favour oral agents with a wide thera-                    coagulation monitoring, these new agents may also
                                       peutic window and a predictable anticoagulant response                        facilitate patient compliance and adherence to clinical
                                       that do not require routine coagulation monitoring or                         guidelines. Thus, they are likely to improve anticoagula-
                                       dose adjustment. Emerging data suggest that direct fac-                       tion treatment in thromboembolic disorders and reduce
                                       tor Xa inhibitors are both effective antithrombotic agents                    the burden associated with long-term therapy, thereby
                                       for short-term use and promising agents for long-term                         providing important alternative options for the manage-
                                       usage. As they have shown a predictable pharmacological                       ment of these conditions.



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